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                                   1                                 UNITED STATES DISTRICT COURT
                                   2                              NORTHERN DISTRICT OF CALIFORNIA

                                   3

                                   4                                    RELATED CASE ORDER
                                   5
                                             A Notice of Related Cases has been filed that the following cases are related within the
                                   6   meaning of Crim. L.R. 8-1(b):
                                   7          20-cr-00204 WHO                        USA v. NICK JAMES BOVIS

                                   8          20-cr-00257 WHO                        USA v. WING LOK “WALTER” WONG

                                   9          20-cr-00353 WHO                        USA v. BALMORE HERNANDEZ

                                  10          21-cr-00096 WHO                        USA v. SANDRA ANN ZUNIGA

                                  11          21-cr-00192 WHO                        USA v. ALAN VARELA AND WILLIAM

                                  12                                                 GILMARTIN III
Northern District of California
 United States District Court




                                  13          21-cr-00294 WHO                        USA v. PAUL FREDRICK GIUSTI

                                  14          21-cr-00490 SI                         USA v. MOHAMMED NURU

                                  15                                                 ORDER

                                  16
                                              The time for filing a statement to support or oppose the Notice has passed. On the basis of
                                  17   the material submitted to the Court, as the Judge assigned to the earliest filed case, I find that the
                                       cases:
                                  18
                                  19          ( )     ARE NOT RELATED as defined by Crim. L.R. 8-1(b).
                                  20          ( )     ARE RELATED as defined by Crim. L.R. 8-1(b). I find, however, that
                                                      reassignment to me of the action(s) currently assigned to another judge is not
                                  21                  warranted.
                                  22          (X)     ARE RELATED as defined by Crim. L.R. 8-1(b). Pursuant to Crim. L.R. 8-1(e),
                                                      the Clerk of Court is ordered to reassign the later-filed action to the undersigned.
                                  23                  Counsel are instructed that all future filings are to bear the initials immediately
                                                      after the case number. All matters presently scheduled for hearing in the reassigned
                                  24                  case(s) are vacated and must be renoticed for hearing before the undersigned.
                                  25

                                  26          DATED: December 20, 2021

                                  27                                                    ______________________________________
                                                                                        WILLIAM H. ORRICK
                                  28                                                    United States District Judge
